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13                           UNITED STATES DISTRICT COURT
14                         CENTRAL DISTRICT OF CALIFORNIA
15                                   WESTERN DIVISION

16   DAWN MANCILLA,                            ) No. 2:20-cv-05551-MAA
                                               )
17                                             )
                                               )
           Plaintiff,                          ) JUDGMENT OF REMAND
18                                             )
               v.                              )
19                                             )
     ANDREW SAUL,
20                                             )
     Commissioner of Social Security,          )
21         Defendant.                          )
                                               )
22                                             )
                                               )
23
           The Court having approved the parties’ Stipulation to Voluntary Remand
24
25   Pursuant to Sentence 4 of 42 U.S.C. § 405(g) and to Entry of Judgment (“Stipulation

26   of Remand”) lodged concurrent with the lodging of the within Judgment of Remand.
27         IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the above-
28   captioned action is remanded to the Commissioner of Social Security for further
     ///
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1    proceedings consistent with the Stipulation of Remand.
2
     DATED:     01/25/21
3                                         HON. MARIA A. AUDERO
4                                         UNITED STATES MAGISTRATE JUDGE
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